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                                         April 12, 2024

VIA CM/ECF
Lyle W. Cayce, Clerk of Court
United States Court of Appeals for the Fifth Circuit
F. Edward Hebert Building
600 S. Maestri Place
New Orleans, LA 70130

Re:   United States v. Texas, No. 24-50149

Dear Mr. Cayce:

    Pursuant to the Court’s order dated April 8, 2024, the United States submits this
letter brief identifying instances in which Congress has provided express statutory
authorization for equitable remedies in actions brought by the federal government.

     Although we are unaware of any comprehensive list, we have identified more than
350 statutory provisions that expressly authorize the United States (or a federal agency
or officer) to seek injunctive relief. As discussed below, those provisions do not call
into doubt the Supreme Court’s recognition in In re Debs that it is “obvious” that the
federal government may proceed in federal court for injunctive relief “whenever the
wrongs complained of . . . are in respect of matters which by the constitution are
intrusted to the care of the nation, and concerning which the nation owes the duty to
all the citizens of securing to them their common rights.” 158 U.S. 564, 586 (1895);
see also United States v. American Bell Tel. Co., 128 U.S. 315 (1888) (noting that a prior
Supreme Court case “was careful to say that the cases in which the instrumentality of
the court cannot thus be used are those where the United States has no pecuniary
interest in the remedy sought, and is also under no obligation to the party who will be
benefited to sustain an action for his use, and also where it does not appear that any
obligation existed on the part of the United States to the public or to any individual”).
Rather, the existence of each of the express provisions identified below reflects one or
more circumstances that, in the particular context at issue, made it appropriate for
Congress either to modify the availability of equitable relief as compared to an
historical baseline, to set forth the specific point or circumstance under when an
injunctive action by the government to enforce a conduct-regulating scheme against
violators would be appropriate (often as one of a range of remedies), or to clarify that
related statutory provisions have not “displace[d] the equitable relief that is
traditionally available to enforce federal law,” Armstrong v. Exceptional Child Ctr., Inc.,
575 U.S. 320, 329 (2015).

    First, although there are exceptions—one of which applied in Debs itself,
see 158 U.S. at 593–94—courts of equity traditionally would not enjoin criminal
offenses. See Harkrader v. Wadley, 172 U.S. 148, 165 (1898); 4 John Norton Pomeroy,
A Treatise on Equity Jurisprudence § 1347, at 949–50 (Spencer W. Symons ed., 5th ed.
1944). Many federal regulations, however, carry both civil and criminal penalties.
See generally Mike Chase, How to Become a Federal Criminal (2019). Federal statutes thus
frequently make clear that both injunctive and criminal remedies (as well as civil
penalties and other sanctions) are available for federal regulatory violations.

    Second, many statutes provide for special procedures or for relief that might not
have been available based on traditional equitable principles or other aspects of the
statutory scheme. For example, traditionally, courts of equity would not issue
injunctions to ensure that assets remain available to pay judgments or penalties.
See Grupo Mexicano de Desarrollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 321
(1999). When Congress enacts specialized schemes to allow the government to seek
injunctions to freeze assets, it provides for more robust relief than could have been
obtained at chancery. See, e.g., 42 U.S.C. § 1320a-7a(k). Some statutes also call for
specialized procedures or standards in connection with traditional equitable relief.
See, e.g., 43 U.S.C. § 1062 (contemplating that U.S. Attorneys will seek injunctions
against unlawful enclosure of public lands when citizens file an affidavit with the U.S.
Attorney sufficiently describing the land and violator); 12 U.S.C. § 1821(b)(18)–(19)
(authorizing Federal Deposit Insurance Corporation to seek injunctions to assume
control of insolvent depository institutions without showing irreparable harm). One
statute expressly overrides a statutory provision that would otherwise have prohibited
equitable relief. See 29 U.S.C. § 178(a)–(b) (authorizing Attorney General to seek
injunctions to halt labor strikes or lockouts during national emergencies
notwithstanding the general prohibition on strike injunctions contained in 29 U.S.C.
§ 104). Similarly, a provision of the Foreign Intelligence Surveillance Act makes clear
that Congress contemplated collateral federal proceedings to enforce a provision that
prohibits, among other things, certain pending state-court proceedings. See 50 U.S.C.
§ 1885b(b). In contrast, another statute limits the injunctive relief the Attorney
General may seek to enforce a trucking-fuel-tax or vehicle-registration compact by
subjecting those suits to the Tax Anti-Injunction Act. See 49 U.S.C. § 31706(c);
cf. Department of Emp. v. United States, 385 U.S. 355, 358 (1966) (limiting application of
Tax Anti-Injunction Act in suits brought by United States). And a different statute

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provides for an injunctive action either by the United States or a specified private
party; including the United States in this provision avoids giving rise to the inference
that only the private party could sue. See 16 U.S.C. § 284g(b). Each of these statutes
serves not merely to state that the United States may seek equitable relief, but to
address specific statutory features that might otherwise have suggested that the United
States could not seek equitable relief in the specific context at issue or that statutory
provisions had displaced traditional equitable remedies.

    Third, some statutes authorize injunctions as a basic method for enforcing a
federal scheme that regulates primary conduct, whether through statute or regulation,
again often as part of a broader enforcement framework that includes administrative
orders, civil penalties, and other remedies. It is rational for Congress to include an
injunctive action by the government (or other parties) in an identification of all
applicable remedies. In addition, some courts have questioned whether the United
States has general authority to seek relief as parens patriae to vindicate purely private
rights. Congress has in some instances made clear that the United States may seek
injunctive relief in the course of a general program of enforcing federal laws whose
violations in a particular case may primarily harm private parties. Many of the statutes
cited in the Court’s supplemental-briefing order have these features and fall in this
category. Relatedly, although some agencies conduct in-house adjudications,
Congress may also channel dispute resolution for new statutory provisions to the
courts. See, e.g., Liu v. SEC, 140 S. Ct. 1936, 1940 (2020) (describing how SEC may
both order and seek equitable relief). Compare, e.g., 15 U.S.C. § 78u-3(c)–(d)
(authorizing Securities and Exchange Commission to enter binding temporary cease-
and-desist orders subject to judicial review), with, e.g., 12 U.S.C. § 4632(e) (authorizing
Attorney General to seek injunctions to enforce cease-and-desist orders against
certain government-sponsored enterprises). And so, when Congress intends for a
federal agency to enforce orders by seeking judicial injunctions, it makes sense that
Congress says so. For example, when Congress provides that the International Trade
Commission may seek injunctions to enforce its cease-and-desist orders, 19 U.S.C.
§ 1337(f)(2), or when it authorizes the Secretary of Transportation to seek injunctions
to enforce daylight savings time, 15 U.S.C. § 260a(c), it does not implicitly abolish the
preexisting right of the United States as sovereign to sue in its courts for injunctive
relief in appropriate circumstances. Instead, it specifies one form of remedy available
under a new statutory regime. Whether or not Congress’s creation of an express
remedy in a specific statute affects the availability of equitable relief to enforce that
statute (as the Court found in Armstrong, for example, see 575 U.S. at 327–29), it says
nothing about equitable rights of action more broadly. See id. at 329-30 (analyzing
whether Congress acted to “displace the equitable relief that is traditionally available
to enforce federal law” by looking to statutory provisions that addressed the same
subject before the Court, rather than statutory remedies in unrelated areas). Here,

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where the United States seeks to vindicate core sovereign interests, the lack of express
statutory authorization is immaterial.

    These circumstances explain all the federal statutes expressly authorizing injunctive
relief of which we are aware. Moreover, even if in one or more instances Congress
made express in statute what has long been clear from the Supreme Court’s case
law—namely, that the United States may seek injunctive relief in federal court to
protect its sovereign interests—that “belt-and-suspenders” drafting would not give
rise to the inference that such statutory authorization would be necessary in every
other case. See In re Coughlin, 33 F.4th 600, 609 (1st Cir. 2022) (citing Ethan J. Leib &
James J. Brudney, The Belt-and-Suspenders Canon, 105 Iowa L. Rev. 735 (2020)). Texas’s
invocation of statutes from disparate contexts does nothing to support the idea that
Congress has somehow displaced the equitable remedy that the United States has
invoked in the circumstances of this case. The existence of comprehensive legislation
in some areas does not displace background equity in others. Cf. Middlesex Cty.
Sewerage Auth. v. National Sea Clammers Ass’n, 453 U.S. 1, 14–15 (1981). Just as the
availability of equitable relief under statutes such as 42 U.S.C. § 1983 does not displace
the right of action recognized in Ex parte Young, the express availability of equitable
relief in certain federal statutes does not displace the United States’ long-recognized
authority to seek equitable relief against actions, including by state and local
governments, that interfere with the operation of federal programs and enforcement
schemes or with interests that the national government is responsible for protecting.
And the federal government has properly invoked that traditional authority here,
where it is proceeding under the express authorization that Congress has conferred on
the Department of Justice to represent the United States in federal court, 28 U.S.C.
§ 516, invoking federal jurisdiction over cases in which the United States is the
plaintiff, id. § 1345, and seeking equitable relief under the general grant of equitable
jurisdiction to the courts, id. § 1331. See Romero v. Int’l Terminal Operating Co., 358 U.S.
354, 359 n.5 (1959) (explaining that after the fusion of law and equity section 1331
continues to confer equitable jurisdiction).

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    While there is no comprehensive list of statutes that expressly authorize the United
States to seek injunctive relief, we have identified the following relevant provisions
and listed them in one of the three categories described above. Although some
statutes may fit in more than one category, we list each statutory provision once only.
We understand the Court’s inquiry to focus on injunctive relief rather than other
forms of equitable relief such as restitution or disgorgement. Although we have
identified some statutes that authorize those other forms of relief, they plainly have
no bearing on whether Congress would have presumed that explicit statutory


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authority was necessary to obtain a prohibitory injunction of the type at issue in this
case.1

      • Statutes authorizing injunctions against conduct that may constitute
        a crime (99). 7 U.S.C. § 13a-1(a)–(b) (authorizing Commodity Futures
        Trading Commission to seek injunctions against violations of commodities
        laws); 7 U.S.C. § 2159 (authorizing Attorney General to seek injunctions
        against dealing in stolen animals or placing the health of any animal in
        serious danger); 7 U.S.C. §§ 3807(a), 7735, 8314(b) (authorizing Attorney
        General to seek injunctions against violations of certain agriculture
        regulations); 8 U.S.C. § 1324a(f) (authorizing Attorney General to seek
        injunctions against pattern or practice of employing undocumented
        noncitizens); 12 U.S.C. § 2607(d)(4) (authorizing Consumer Financial
        Protection Bureau or Secretary of Housing & Urban Development to seek
        injunctions against unlawful kickbacks); 12 U.S.C. § 1844(g)(2) (authorizing
        the Board of Governors of the Federal Reserve System to seek injunctions
        to enforce bank-holding-company regulations and to enforce orders against
        bank-holding companies); 12 U.S.C. § 1954 (authorizing Secretary of the
        Treasury to seek injunctions against violations of bank recordkeeping
        regulations); 12 U.S.C. § 4632(e) (authorizing Attorney General to seek
        injunctions to enforce cease-and-desist orders against certain government-
        sponsored enterprises); 15 U.S.C. §§ 4, 8, 25 (authorizing U.S. Attorneys to
        seek injunctions against antitrust violations); 15 U.S.C. §§ 68e(b), 69g(b),
        70(f) (authorizing Federal Trade Commission to seek injunctions to enforce
        labeling requirements); 15 U.S.C. § 77t(b) (authorizing Securities &
        Exchange Commission to seek injunctions against violations of certain

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  See, e.g., 7 U.S.C. § 13a-1(d)(3) (authorizing Commodity Futures Trading
Commission to seek equitable remedies including restitution and disgorgement);
8 U.S.C. § 1188(g)(2) (authorizing Secretary of Labor to seek specific performance of
certain contractual obligations); 12 U.S.C. § 5565(a)(2)(A), (C), (D) (authorizing
Consumer Financial Protection Bureau to seek rescission or reformation of contracts,
restitution, and disgorgement); 15 U.S.C. § 78u(d)(5), (7) (authorizing Securities &
Exchange Commission to seek disgorgement and “any equitable relief that may be
appropriate or necessary for the benefit of investors”); 16 U.S.C. § 460x-11(4)(A)
(authorizing Secretary of the Interior to quiet title to land for scenic roads as part of
condemnation process); 29 U.S.C. § 2617(d)(2) (authorizing Secretary of Labor to
seek “other equitable relief as may be appropriate, including employment,
reinstatement, and promotion” to enforce Family and Medical Leave Act); 30 U.S.C.
§ 1020 (authorizing Attorney General to seek to quiet title to mineral rights).


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securities laws); 15 U.S.C. §§ 78dd(d), 78dd-3(d) (authorizing Attorney
General to seek injunctions against violations of certain securities laws);
15 U.S.C. §§ 78u(d), 80a-41(d), 80b-9(d) (authorizing Securities & Exchange
Commission to seek injunctions against violations of certain securities laws);
15 U.S.C. § 378 (authorizing Attorney General to seek injunctions against
violations of cigarette-tax laws); 15 U.S.C. § 715i (authorizing President to
seek injunctions against unlawful interstate transportation of petroleum);
15 U.S.C. § 717s(a) (authorizing Federal Power Commission to seek
injunctions against violations of natural-gas regulations); 15 U.S.C.
§ 797(b)(4) (authorizing Attorney General to seek injunctions against
unlawful transportation of natural gas); 15 U.S.C. § 1195(a) (authorizing
Consumer Product Safety Commission to seek injunctions against violations
of flammable-fabric regulations); 15 U.S.C. § 1267 (authorizing United
States to seek injunctions against violations of the Federal Hazardous
Substances Labeling Act); 15 U.S.C. § 1714(a) (authorizing Director of the
Consumer Financial Protection Bureau to seek injunctions against violations
of interstate-land-sales regulations); 15 U.S.C. §§ 2064(g), 2071(a)
(authorizing Consumer Product Safety Commission to seek injunctions
against distribution of unsafe products); 15 U.S.C. § 2616 (authorizing
Administrator of the Environmental Protection Agency to seek injunctions
against violations of toxic-substances regulations); 15 U.S.C. § 3414(b)(1)–
(2) (authorizing Federal Energy Regulation Commission or, in certain
emergencies, the President to seek injunctions against violations of natural-
gas regulations); 15 U.S.C. § 5408(a)(1) (authorizing Attorney General to
seek injunctions against violations of metallic-fasteners regulations);
15 U.S.C. § 6309(a) (authorizing Attorney General to seek injunctions
against violations of boxing-safety regulations); 16 U.S.C. § 820 (authorizing
Attorney General to seek injunctions against violations of water-power
regulations); 16 U.S.C. § 825m(a) (authorizing Federal Power Commission
to seek injunctions against violations of power regulations); 16 U.S.C.
§ 1540(e) (authorizing Attorney General to seek injunctions against
violations of the Endangered Species Act); 16 U.S.C. § 1861(d) (authorizing
Secretary of Commerce and Secretary of Homeland Security or Secretary of
the Navy to seek injunctions against violations of national-fishery-
management-program regulations); 18 U.S.C. § 177 (authorizing United
States to seek injunctions against biological-weapons offenses); 18 U.S.C.
§ 216(c) (authorizing Attorney General to seek injunctions against bribery):
18 U.S.C. § 229D (authorizing United States to seek injunctions against
chemical-weapons offenses); 18 U.S.C. § 248(c)(2) (authorizing Attorney
General to seek injunctions against unlawful interference with individuals’
access to reproductive health services and places of religious worship);

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18 U.S.C. § 1345 (authorizing Attorney General to seek injunctions against
criminal fraud); 18 U.S.C. § 1388(c)(1)–(2) (authorizing Attorney General to
seek injunctions against certain demonstrations and disruptions at veterans’
funerals); 18 U.S.C. § 1514(a)(1), (b)(1) (authorizing United States to seek
injunctions against harassment of victims and witnesses of crime); 18 U.S.C.
§ 1595A(a) (authorizing Attorney General to seek injunctions against
peonage, slavery, and human trafficking); 18 U.S.C. § 1836(a) (authorizing
Attorney General to seek injunctions against theft of trade secrets);
18 U.S.C. § 1964(a)–(b) (authorizing Attorney General to seek injunctions
against racketeering); 18 U.S.C. § 2322(a)(2) (authorizing Attorney General
to seek injunctions against operating unlawful chop shops); 18 U.S.C.
§ 2339B(c) (authorizing Attorney General to seek injunctions against
providing material support to designated foreign terrorist organizations);
18 U.S.C. § 2346 (authorizing Attorney General to seek injunctions against
violations of cigarette-smuggling laws); 18 U.S.C. §§ 2511(5)(a)(ii)(A), 2521
(authorizing Attorney General to seek injunctions against unlawful
wiretaps); 21 U.S.C. §§ 332(a), 360pp(a) (authorizing United States to seek
injunctions against violations of the Federal Food, Drug, & Cosmetic Act);
21 U.S.C. § 467c (authorizing United States to seek injunctions against sale
of unsafe poultry and poultry products); 21 U.S.C. § 843(f)(1) (authorizing
Attorney General to seek injunctions against unlawful distribution of
controlled substances and other controlled-substance offenses); 22 U.S.C.
§ 618(f) (authorizing Attorney General to seek injunctions against violations
of the Foreign Agent Registration Act); 22 U.S.C. § 2518(b)(2) (authorizing
Attorney General to seek injunctions against misuse of agency names or
insignia); 22 U.S.C. § 2651a(m)(4) (authorizing Attorney General to seek
injunctions against former State Department officials’ engaging in
prohibited lobbying); 29 U.S.C. § 662(a) (authorizing Secretary of Labor to
seek injunctions against violations of workplace-safety regulations);
29 U.S.C. § 1852(a) (authorizing Secretary of Agriculture to seek injunctions
against violations of protections for migrant and seasonal agricultural
workers); 30 U.S.C. § 195(c) (authorizing Attorney General to seek
injunctions against violations of mining regulations); 30 U.S.C. § 818
(authorizing Secretary of Labor to seek injunctions against mine-safety
violations); 31 U.S.C. § 5320 (authorizing Secretary of the Treasury to seek
injunctions against violation of anti-money-laundering regulations);
31 U.S.C. § 5365(b)(a) (authorizing United States to seek injunctions against
unlawful internet-gambling transactions); 33 U.S.C. §§ 403a, 406, 519
(authorizing Attorney General to seek injunctions to compel removal of
obstructions to navigable waters); 33 U.S.C. § 495(a) (authorizing Attorney
General to seek injunctions to compel compliance with certain Coast Guard

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orders); 33 U.S.C. § 1319(b) (authorizing Administrator of the
Environmental Protection Agency to seek injunctions to compel
compliance with certain environmental regulations); 33 U.S.C. § 1344(s)(3)
(authorizing Secretary of the Army to seek injunctions to compel
compliance with permits to discharge dredged or fill material into the
navigable waters); 33 U.S.C. §§ 1414b(g)(3), 1415(d) (authorizing Attorney
General to seek injunctions against violations of certain environmental
regulations); 33 U.S.C. § 1514(b)(3) (authorizing Attorney General to seek
injunctions to compel compliance with deepwater-port regulations);
33 U.S.C. § 2604 (authorizing Secretary of Transportation or Administrator
of the Environmental Protection Agency to seek injunctions to compel
compliance with shore protection regulations); 38 U.S.C. § 2413(c)(1)–(2)
(authorizing Attorney General to seek injunctions against certain
demonstrations and disruptions at veterans’ cemeteries); 39 U.S.C. § 3011
(authorizing Attorney General to seek injunctions against mailing of
obscene materials); 42 U.S.C. § 2280 (authorizing Attorney General to seek
injunctions against violations of atomic-energy regulations); 42 U.S.C.
§ 6395(d) (authorizing Attorney General to seek injunctions against
violations of certain environmental regulations); 42 U.S.C.
§§ 6921(b)(3)(B)(iv), 6928(a)(1), 6992d(a)(1) (authorizing Administrator of
the Environmental Protection Agency to seek injunctions to compel
compliance with certain environmental regulations); 42 U.S.C. § 8434
(authorizing Secretary of Energy to seek injunctions against violations of
power-plant regulations); 42 U.S.C. § 9152(b)(1) (authorizing Attorney
General to seek injunctions against violations of certain environmental
regulations); 43 U.S.C. § 1733(b) (authorizing Attorney General to seek
injunctions against violation of land-management regulations); 46 U.S.C.
§ 2305(a) (authorizing Attorney General or United States to seek injunctions
against negligent operation of vessels); 46 U.S.C. § 4311(f) (authorizing
Attorney General to seek injunctions against sale of unsafe recreational
vessels); 47 U.S.C. § 36 (authorizing United States to seek injunctions
against landing or operating unlicensed submarine cables or to require the
removal thereof); 47 U.S.C. § 223(b)(6) (authorizing Attorney General to
seek injunctions to halt obscene or harassing phone calls); 49 U.S.C.
§ 5122(a) (authorizing Attorney General, at the request of Secretary of
Transportation, to seek injunctions to enforce certain transportation
regulations); 49 U.S.C. § 20111(a)(2) (authorizing Secretary of
Transportation to seek injunctions to enforce certain transportation
regulations); 49 U.S.C. § 20112(a)(1) (authorizing Attorney General, at the
request of Secretary of Transportation, to seek injunctions to enforce
certain transportation regulations); 49 U.S.C. § 60120(a)(1) (authorizing

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   Attorney General, at the request of Secretary of Transportation, to seek
   injunctions to enforce certain transportation regulations); 49 U.S.C.
   § 30163(a) (authorizing Attorney General to seek injunctions against
   violations of motor-vehicle-safety requirements including some criminal
   provisions); 49 U.S.C. §§ 32507(c), 32709(c), 33115(c) (authorizing Secretary
   of Transportation or Attorney General to seek injunctions against sale of
   motor vehicles that fail to meet federal standards).

• Statutes creating specialized forms of injunctive relief or imposing
  specialized standards (33). 5 U.S.C. § 8477(e)(3)(A)(iii)–(iv) (authorizing
  Secretary of Labor to seek injunctions against trustees of Federal Retirement
  Thrift Investment Management System against breaches of fiduciary duties
  even though Secretary is neither a trustee nor a beneficiary of the trust);
  7 U.S.C. § 228a (authorizing Attorney General to seek temporary injunction
  during pendency of petitions for review of orders of Secretary of
  Agriculture); 7 U.S.C. §§ 194(g), 228b-3(c), 1600 (authorizing Secretary of
  Agriculture to seek temporary injunction as part of petition-for-review
  proceedings and providing that a decree of the court of appeals affirming or
  modifying certain orders of the Secretary shall function as an injunction);
  7 U.S.C. § 292 (authorizing Secretary of Agriculture to seek temporary
  injunction during pendency of reviews of antitrust orders and authorizing
  court to enter permanent injunction); 10 U.S.C. §§ 425, 8921(c) (authorizing
  Attorney General to seek injunctions against misuse of agency names or
  insignia, requiring expedited proceedings, and authorizing special interim
  relief); 12 U.S.C. § 1708(c)(6)(C) (authorizing Secretary of the Treasury to
  seek injunctions to enforce cease-and-desist orders against violations of
  mortgage regulations and requiring court to issue injunction if it finds
  violations or threatened violations); 12 U.S.C. § 1715z-4a(b) (authorizing
  Attorney General, at the request of Secretary of the Treasury, to seek
  temporary relief to protect certain governmental interests and assets);
  12 U.S.C. § 1787(b)(3)(G)–(F) (authorizing National Credit Union
  Administration Board to seek injunctions to assume control of insolvent
  credit unions without showing irreparable harm); 12 U.S.C. § 1821(b)(18)–
  (19) (authorizing Federal Deposit Insurance Corporation to seek injunctions
  to assume control of insolvent depository institutions without showing
  irreparable harm); 12 U.S.C. § 4617(a)(16)–(17) (authorizing Federal
  Housing Finance Agency, acting as a conservator or receiver, to seek
  injunctions to assume control of insolvent government-sponsored-entities
  without showing irreparable harm); 12 U.S.C. § 5390(a)(13)–(14)
  (authorizing Securities Investor Protection Corporation to seek injunctions
  to assume control of insolvent financial companies without showing

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irreparable harm); 15 U.S.C. § 522 (authorizing Secretary of Commerce to
seek temporary injunction during pendency for review of antitrust order and
authorizing court to enter permanent injunction); 16 U.S.C. § 284g(b)
(authorizing Secretary of the Interior or the Wolf Trap Foundation for the
Performing Arts to seek to vindicate easement against the State of Virginia
in Wolf Trap National Park for the Performing Arts); 16 U.S.C. §§ 459e-
1(i), 459e-2(g) (authorizing Secretary of the Interior to seek injunctions to
temporarily prohibit use of property within the Fire Island National
Seashore for up to 180 days); 16 U.S.C. § 460x-11(4)(B) (authorizing
Secretary of the Interior to seek injunctions to temporarily prohibit use of
property within Sleeping Bear Dunes National Lakeshore); 16 U.S.C.
§ 544h(b)(2) (authorizing Secretary of the Interior to seek injunctions to
temporarily prohibit use of scenic areas within national forests); 18 U.S.C.
§ 1963(d)(1), (e) (authorizing United States to seek temporary injunction to
preserve property for criminal forfeiture); 21 U.S.C. § 853(e)(1) (same);
29 U.S.C. § 178 (authorizing Attorney General to seek injunctions to halt
labor strikes or lockouts during national emergencies notwithstanding the
prohibition on strike injunctions contained in 29 U.S.C. § 104); 42 U.S.C.
§ 1320a-7a(k) (authorizing Secretary of Health & Human Services to seek
injunctions against fraud and against disposal of assets that may be required
to pay civil penalties); 42 U.S.C. § 1320a-8a(h) (authorizing Commissioner
of Social Security to seek injunctions against fraud and to prevent disposal
of assets that may be required to pay civil penalties); 42 U.S.C. § 2000h-2
(authorizing Attorney General to intervene in any equal-protection action
filed by a private party and seek “the same relief as if it had instituted the
action”); 43 U.S.C. § 1062 (authorizing U.S. Attorneys to seek injunctions
against unlawful enclosure of public lands upon certain showing by
affidavit); 49 U.S.C. § 31706 (authorizing Attorney General to seek, subject
to the Tax Anti-Injunction Act, injunctions to enforce interstate fuel-tax
and vehicle-registration agreements); 50 U.S.C. § 1885b(b) (authorizing
United States to seek injunctions against state efforts to interfere with
electronic-communication-service providers’ cooperation with intelligence
community including injunctions against certain pending state-court
proceedings); 50 U.S.C. §§ 3233(b), 3513(b), 3613(b) (authorizing Attorney
General to seek injunctions against misuse of agency names or insignia,
requiring expedited proceedings, and authorizing special interim relief);
50 U.S.C. § 4556(a) (authorizing President to seek injunctions against
violations of Defense Production Act and setting standard for injunction to
issue).



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• Statutes authorizing enforcement of federal regulatory schemes (226).
  5 U.S.C. § 7123(b) (authorizing Federal Labor Relations Authority to seek
  injunctions to enforce labor-management-relations orders); 7 U.S.C. § 216
  (authorizing Attorney General to seek injunctions against violations of
  certain agricultural regulations); 7 U.S.C. § 217b(f)(3) (authorizing Secretary
  of Agriculture to seek injunctions against violations of certain agricultural
  regulations); 7 U.S.C. § 499e(c)(5) (authorizing Secretary of Agriculture to
  seek injunctions to prevent dissipation of proceeds held in trust from the
  sale of certain agricultural commodities); 7 U.S.C. § 499h(d) (authorizing
  Attorney General to seek injunctions against violations of certain
  agricultural regulations); 7 U.S.C. §§ 608a(7), 1359hh(d)(2) (authorizing U.S.
  Attorneys to seek injunctions against violations of certain agricultural
  regulations); 7 U.S.C. § 1446(d)(5)(A) authorizing Attorney General to seek
  injunctions against violations of certain agricultural regulations); 7 U.S.C.
  § 1601 (authorizing Secretary of Agriculture or Attorney General to seek
  injunctions against violations of certain agricultural regulations); 7 U.S.C.
  § 1636b(f) (authorizing Attorney General to seek injunctions against
  violations of certain agricultural regulations); 7 U.S.C. § 1637b(c)(4)(D)
  (authorizing United States to seek injunctions against violations of certain
  agricultural regulations); 7 U.S.C. § 2009cc-12(a) (authorizing Secretary of
  Agriculture to seek injunctions against violations of certain agricultural
  regulations); 7 U.S.C. § 2146(c) (authorizing Secretary of Agriculture to seek
  injunctions against violations of certain animal-welfare regulations); 7 U.S.C.
  §§ 2305(b), 2621(a), 2714(a), 2908(b)–(c), 3410(a), 4314(a), 4510(a), 4815(a),
  4610(a), 4910(a), 6009(a)–(b), 6107(a)–(b), 6207(a)–(b), 6307(a)–(b),
  6411(a)–(b), 6808(a)–(b), 7107(a)–(b), 7419(a)–(b), 7448(a)–(b), 7468(a)–(b),
  7807(a)–(b), 7487 (authorizing Attorney General to seek injunctions against
  violations of certain agricultural regulations); 8 U.S.C. § 1324b(j)
  (authorizing Special Counsel for Immigration-Related Unfair Employment
  Practices to seek injunctions to enforce orders prohibiting some
  employment discrimination based on national origin or citizenship status);
  10 U.S.C. § 4701(c)(4) (authorizing head of any relevant executive agency to
  seek injunctions to enforce whistleblower-protection orders); 11 U.S.C.
  § 110(j)(2)(B)(3) (authorizing United States Trustee to seek injunctions
  against bankruptcy1petition preparers for failure to comply with sanctions
  orders); 12 U.S.C. § 1731b(h) (authorizing Attorney General to seek
  injunctions against transient occupancy of certain housing in violation of
  mortgage regulations); 12 U.S.C. § 1782(d)(1) (authorizing National Credit
  Union Administration Board to seek injunctions to compel credit unions to
  transfer control of assets or to file reports and statements); 12 U.S.C.
  §§ 1815(c)(5), 1817(f), (j)(15)(B) (authorizing Federal Deposit Insurance

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Corporation to seek injunctions to compel depository institutions to
transfer control of assets or to file reports and statements); 12 U.S.C.
§ 1467a(g)(4) (authorizing the Board of Governors of the Federal Reserve
System to seek injunctions to enforce bank-holding-company regulations
and to enforce orders against bank-holding companies); 12 U.S.C. § 1973
(authorizing U.S. Attorneys to seek injunctions to enforce anti-tying
regulations for banks); 12 U.S.C. § 2263 (authorizing Farm Credit
Administration to seek injunctions to enforce cease-and-desist orders);
12 U.S.C. § 4584(a) (authorizing Director of the Federal Housing Finance
Agency to seek injunctions to enforce cease-and-desist orders); 12 U.S.C.
§ 4635(a) (authorizing Director of the Federal Housing Finance Agency to
seek injunctions against violations of certain regulations governing
government-sponsored enterprises); 12 U.S.C. § 5564(a) (authorizing
Consumer Financial Protection Bureau to seek injunctions against violations
of consumer-financial-protection laws); 15 U.S.C. § 7a-3(b)(E) (authorizing
Secretary of Labor to seek injunctions to enforce whistleblower-protection
orders); 15 U.S.C. § 18a(f) (authorizing United States and Federal Trade
Commission to seek injunctions to prevent mergers); 15 U.S.C. §§ 45(l),
53(a)–(b), 57b(b) (authorizing Federal Trade Commission to seek
injunctions to enforce Federal Trade Commission Act and various
regulations); 15 U.S.C. § 80a-35(a) (authorizing Securities & Exchange
Commission to seek injunctions against violations of certain securities laws);
15 U.S.C. § 260a(c) (authorizing Secretary of Transportation to seek
injunctions to enforce daylight savings time); 15 U.S.C. §§ 687c(a), 689l(a)
(authorizing Small Business Administration to seek injunctions against
violations of certain Small Business Administration regulations); 15 U.S.C.
§ 719i(c) (authorizing Attorney General to seek injunctions against unlawful
transportation of natural gas); 15 U.S.C. § 792(b)(4) (authorizing Attorney
General to seek injunctions against violations of coal-allocation regulations
and energy reporting requirements); 15 U.S.C. § 1339 (authorizing Attorney
General to seek injunctions against violations of tobacco-labeling
regulations); 15 U.S.C. § 1691e(h) (authorizing Attorney General to seek
injunctions against discriminatory banking practices); 15 U.S.C. § 2055(b)(3)
(authorizing Consumer Product Safety Commission to seek injunctions
against distribution of inaccurate documents); 15 U.S.C. § 2087(c)(6)
(authorizing Secretary of Labor to seek injunctions to enforce
whistleblower-protection orders); 15 U.S.C. § 2310(c) (authorizing Federal
Trade Commission to seek injunctions to enforce the Federal Trade
Commission Act and various regulations); 15 U.S.C. § 2603(e)(2)(C)(iii)
(authorizing Attorney General and Administrator of Environmental
Protection Agency to seek injunctions against violations of regulations

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governing chemical-safety advisory committee); 15 U.S.C. § 2606(a)–(b)
(authorizing Administrator of Environmental Protection Agency to seek
injunctions against violations of toxic-substances regulations); 15 U.S.C.
§ 2648(b) (authorizing Attorney General to seek injunctions to abate
asbestos contamination in schools); 15 U.S.C. § 3151(c) (authorizing
Attorney General to seek injunctions against discrimination in certain
federally funded employment-promotion programs); 15 U.S.C. § 3207(b)(2)
(authorizing Secretary of Energy to seek injunctions to enforce right to
participate in state public-utility ratemaking proceedings); 15 U.S.C. § 4405
(authorizing Federal Trade Commission and Attorney General to seek
injunctions against violations of tobacco-labeling regulations); 15 U.S.C.
§ 8708 (authorizing Attorney General to seek injunctions against violations
of concrete-masonry-product regulations); 16 U.S.C. § 460tt(c)(1)
(authorizing United States to seek injunctions to halt construction of Cross
Florida Barge Canal); 16 U.S.C. § 544m(b)(1)(A) (authorizing Attorney
General to seek injunctions to enforce scenic-forest regulations); 16 U.S.C.
§ 544m(b)(1)(B) (authorizing Columbia River Gorge Commission to seek
injunctions to enforce scenic-forest regulations); 16 U.S.C. § 806
(authorizing Attorney General to seek injunctions against violations of
water-power regulations and to revoke water-power permits and licenses);
16 U.S.C. § 973i(e) (authorizing Attorney General to seek injunctions
against violations of South Pacific tuna-fishing orders); 16 U.S.C. § 1437(j)
(authorizing Attorney General to seek injunctions against violations of
marine-sanctuary regulations); 16 U.S.C. § 2633(b)(1) (authorizing Secretary
of Energy to seek injunctions to enforce right to participate in state public-
utility ratemaking proceedings); 16 U.S.C. § 3706(c) (authorizing Attorney
General to seek injunctions against misconduct by National Fish & Wildlife
Foundation); 16 U.S.C. § 4016(a) (authorizing Attorney General to seek
injunctions against violations of fisheries-marketing regulations); 16 U.S.C.
§ 5203(2) (authorizing Attorney General to seek injunctions against
obstructions of lawful recreational hunting); 19 U.S.C. § 1337(f)(2)
(authorizing International Trade Commission to seek injunctions to enforce
cease-and-desist orders); 19 U.S.C. § 4532(e)(5)(B) (authorizing Secretary of
the Treasury and Secretary of Labor to seek injunctions to enforce labor
requirements for imported automotive goods); 22 U.S.C. § 4311(a)
(authorizing Attorney General to seek injunctions to prohibit unlawful
provision of benefits to foreign diplomatic missions); 22 U.S.C. § 5203(b)
(authorizing Attorney General to seek injunctions to bar prohibited
transactions with Palestine Liberation Organization); 22 U.S.C. § 6303(h)
(authorizing Attorney General to seek injunctions to bar financing of
unlawful nuclear proliferation and to enforce sanctions against unlawful

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          nuclear proliferation); 25 U.S.C. § 1621e(e)(1)(B) (authorizing United States
          to seek injunctions to enforce right to recover certain healthcare costs);
          25 U.S.C. § 305e(b)(1) (authorizing Attorney General to seek injunctions to
          bar the sale of counterfeit tribal goods); 25 U.S.C. § 4161(c)(2) (authorizing
          Attorney General to seek injunctions against violations of conditions of
          Native American housing-assistance grants); 25 U.S.C. § 4237(c)(2)(b)
          (authorizing Attorney General to seek injunctions against violations of
          conditions of Native Hawaiian housing-assistance grants); 26 U.S.C.
          §§ 7407(a), 7408(a), 7409(a) (authorizing United States to seek injunctions
          against certain violations of the Internal Revenue Code); 26 U.S.C.
          §§ 9010(c), 9011(b)(1), 9040(c) (authorizing Federal Election Commission to
          seek injunctions against violations of campaign-finance regulations);
          27 U.S.C. §§ 207, 219 (authorizing Attorney General to seek injunctions
          against violations of alcoholic-beverage regulations); 28 U.S.C. § 1738C(b)
          (authorizing Attorney General to seek injunctions against denials “full faith
          and credit to any public act, record, or judicial proceeding” of a state
          “pertaining to a marriage between [two] individuals” “on the basis of the
          sex, race, ethnicity, or national origin of those individuals”); 28 U.S.C.
          § 3703 (authorizing Attorney General to seek injunctions against unlawful
          gambling);2 29 U.S.C. § 160(j) (authorizing National Labor Relations Board
          to seek injunctions against unfair labor practices); 29 U.S.C. §§ 212(b), 440,
          464(a) (authorizing Secretary of Labor to seek injunctions against violations
          of labor regulations); 29 U.S.C. § 792(e)(1) (authoring executive director of
          the Architectural and Transportation Barriers Compliance Board to
          injunctions to enforce orders of the Board); 29 U.S.C. § 1024(a)(5)
          (authorizing Secretary of Labor to seek injunctions to enforce employee-
          benefit-plan reporting requirements); 29 U.S.C. § 1303(e)(1) (authorizing
          Pension Benefit Guaranty Corporation to seek injunctions to enforce plan-
          termination-insurance regulations); 29 U.S.C. §§ 2005(b), 2617(d)(1)
          (authorizing Secretary of Labor to seek injunctions against violations of
          certain labor regulations); 29 U.S.C. § 1132(a)(5), (8) (authorizing Secretary
          of Labor to seek injunctions against violations of ERISA requirements);
          29 U.S.C. § 1855(b) (authorizing Secretary of Agriculture to seek injunctions
          against retaliation against migrant workers); 29 U.S.C. § 2511(a) (authorizing
          Administrator of the Wage and Hour Division to seek injunctions against
          violations of fair-labor standards); 29 U.S.C. § 3248(c) (authorizing Attorney
          General to seek injunctions against pattern or practice of discrimination in

      2
       Held unconstitutional in Murphy v. National Collegiate Athletic Ass’n, 584 U.S.
453 (2018).


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providing workforce-development funding); 30 U.S.C. §§ 1242(c), 1271(c)
(authorizing Attorney General to seek injunctions against violations of
mining regulations); 30 U.S.C. § 1020 (authorizing Attorney General to seek,
as part of quiet title proceedings, injunctions limiting production of minerals
except if in accordance with federal regulations); 31 U.S.C. § 6715
(authorizing Attorney General to seek injunctions against pattern or practice
of discrimination in local-government programs and activities); 33 U.S.C.
§§ 403a, 406, 519 (authorizing Attorney General to seek injunctions to
compel removal of obstructions to navigable waters); 33 U.S.C. § 921(d)
(authorizing deputy commissioners of Benefits Review Board to seek
injunctions to enforce compensation orders); 33 U.S.C. § 941(e)
(authorizing Secretary of Labor seek injunctions to enforce longshoremen-
safety regulations); 33 U.S.C. § 1321(e) (authorizing Attorney General to
seek injunctions to abate an imminent and substantial endangerment);
33 U.S.C. § 1322(i) (authorizing United States to seek injunctions against
sales of vessels without marine-sanitation devices); 33 U.S.C. § 1364(a)
(authorizing Administrator of Environmental Protection Agency to seek
injunctions against violations of water-pollution regulations); 33 U.S.C.
§ 2236(b)(3) (authorizing Attorney General to seek injunctions against
collection of unlawful harbor fees); 33 U.S.C. § 4216(b) (authorizing
Attorney General to seek injunctions against misconduct by Marine Debris
Foundation); 34 U.S.C. § 10228(c)(3) (authorizing Attorney General to seek
injunctions against pattern or practice of discrimination in federally funded
law-enforcement agencies); 34 U.S.C. § 12601(b) (authorizing Attorney
General to seek injunctions against pattern or practice of depriving persons
of rights through police misconduct); 36 U.S.C. § 151709 (authorizing
Attorney General to seek injunctions against misconduct by National Film
Preservation Foundation); 36 U.S.C. § 151309 (authorizing Attorney
General to seek injunctions against misconduct by National Fallen
Firefighters Foundation); 36 U.S.C. § 90109 (authorizing Attorney General
to seek injunctions against misconduct by Help America Vote Foundation);
38 U.S.C. § 4323(e) (authorizing Attorney General to seek injunctions to
enforce regulations protecting servicemembers’ employment and
reemployment rights); 39 U.S.C. § 3007(a) (authorizing U.S. Postal Service
to seek injunctions against unlawful mailing of nonmailable matter and
requiring the detention of nonmailable matter); 39 U.S.C. § 3018(g)(1)–(2)
(authorizing Attorney General to seek injunctions against unlawful mailing
of hazardous materials); 41 U.S.C. § 2622(d) (authorizing Secretary of Labor
to seek injunctions to enforce whistleblower-protection orders); 41 U.S.C.
§§ 4705(d)(3), 4712(c)(4) (authorizing head of any relevant executive agency
to seek injunctions to enforce whistleblower-protection orders); 42 U.S.C.

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§§ 263a(j), 263b(j) (authorizing Secretary of Health & Human Services to
seek injunctions against unsafe laboratories and mammography activities
and facilities); 42 U.S.C. § 290cc-33b)(2) (authorizing Attorney General to
seek injunctions against pattern or practice of discrimination in providing
homelessness-transition assistance); 42 U.S.C. §§ 300g-3(b), 300h-3(c),
300i(a), 300j(e), (authorizing Administrator of the Environmental Protection
Agency to seek injunctions to compel compliance with certain
environmental regulations); 42 U.S.C. § 300ff-139(a) (authorizing Secretary
of Health & Human Services to seek injunctions to enforce infectious-
disease-exposure notification requirements); 42 U.S.C. § 300j-9(i)(4)
(authorizing Secretary of Labor to seek injunctions to enforce
whistleblower-protection orders); 42 U.S.C. § 300w-7(c) (authorizing
Attorney General to seek injunctions against pattern or practice of
discrimination in providing preventative-health-and-health-services
funding); 42 U.S.C. § 300x-57(b)(2) (authorizing Attorney General to seek
injunctions against pattern or practice of discrimination in providing
mental-health and substance-abuse funding); 42 U.S.C. § 708(c) (authorizing
Attorney General to seek injunctions against pattern or practice of
discrimination in providing maternal-and-child-health-services funding);
42 U.S.C.§ 1997a(a) (authorizing Attorney General to seek injunctions to
eliminate unlawful prison conditions); 42 U.S.C. §§ 2000a-3(a), 2000a-5(a)
(authorizing Attorney General to seek injunctions to protect civil rights);
42 U.S.C. § 2000e-5(g) (authorizing Equal Employment Opportunity
Commission to seek injunctions against unlawful employment practices);
42 U.S.C. §§ 2000e-6(a), 3614(d)(1)(A) (authorizing Attorney General to
seek injunctions to protect civil rights); 42 U.S.C. § 4852d(b)(2) (authorizing
Secretary of Housing & Urban Development to seek injunctions against
violations of lead-paint-disclosure regulations); 42 U.S.C. § 5309(c)
(authorizing Attorney General to seek injunctions against pattern or practice
of discrimination in providing community-development funding); 42 U.S.C.
§ 5311(b)(2) (authorizing Attorney General to seek injunctions against
violations of conditions of community-development grants); 42 U.S.C.
§ 5411(a) (authorizing U.S. Attorneys and Attorney General to seek
injunctions against violations of manufactured-home regulations); 42 U.S.C.
§ 5851(d) (authorizing Secretary of Labor to seek injunctions to enforce
whistleblower-protection orders); 42 U.S.C. § 6304 (authorizing Federal
Trade Commission and Attorney General to seek injunctions against
violations of energy-conservation requirements); 42 U.S.C. §§ 6973(a),
6991e(a)(1), 6992d(a)(1), 7413(b), 7477 (authorizing Administrator of the
Environmental Protection Agency to seek injunctions to compel
compliance with certain environmental regulations); 42 U.S.C. § 7523

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(authorizing United States to seek injunctions against violations of certain
motor-vehicle-emission regulations); 42 U.S.C. § 7545(d)(2) (authorizing
United States to seek injunctions against violations of emission
requirements and fuel standards); 42 U.S.C. § 7603 (authorizing
Administrator of the Environmental Protection Agency to seek injunctions
to abate an imminent and substantial endangerment); 42 U.S.C. § 7622(e)
(authorizing Secretary of Labor to seek injunctions to enforce
whistleblower-protection orders); 42 U.S.C. § 8625(c) (authorizing Attorney
General to seek injunctions against pattern or practice of discrimination in
providing low-income home-energy assistance); 42 U.S.C. § 9606(a)
(authorizing Attorney General to seek injunctions to abate an imminent and
substantial endangerment); 42 U.S.C. § 9918(c)(3) (authorizing Attorney
General to seek injunctions against pattern or practice of discrimination in
providing community-service block grants); 42 U.S.C. § 10406(c)(2)(D)
(authorizing Attorney General to seek injunctions against violations of
conditions of state block grants); 42 U.S.C. § 12188(b) (authorizing
Attorney General to seek injunctions to protect civil rights); 42 U.S.C.
§ 14304(a)(2) (authorizing Administrator of the Environmental Protection
Agency to seek injunctions to compel compliance with certain
environmental regulations); 43 U.S.C. § 1350(a) (authorizing Attorney
General and U.S. Attorneys to seek injunctions against violations of the
Outer Continental Shelf Lands Act); 45 U.S.C. § 321n(j)(5)(F) (authoring
Railroad Retirement Board to seek injunctions against violations of National
Railroad Retirement Investment Trust regulations); 46 U.S.C. § 41307(a)–(c)
(authorizing Federal Maritime Commission to seek injunctions against
violations of ocean-shipping regulations); 46 U.S.C. § 41308(a) (authorizing
Attorney General to seek injunctions to enforce certain Federal Maritime
Commission orders); 46 U.S.C. § 42104(e) (authorizing Federal Maritime
Commission to seek injunctions to enforce certain orders); 46 U.S.C.
§ 80507(c) (authorizing Secretary of Labor to seek injunctions against
whistleblower retaliation); 47 U.S.C. § 214(c) (authorizing United States and
Federal Communications Commission to seek injunctions against unlawfully
placed communications lines); 47 U.S.C. § 401 (authorizing Attorney
General to seek injunctions against violations of Communications Act of
1934); 49 U.S.C. § 306(e) (authorizing Attorney General to seek injunctions
against discrimination in federally funded transportation activities);
49 U.S.C. § 507(c) (authorizing Attorney General to seek injunctions against
violations of commercial-vehicle safety regulations); 49 U.S.C. § 1151(a)–(b)
(authorizing National Transportation Safety Board and Attorney General to
seek injunctions to enforce transportation-safety regulations and orders);
49 U.S.C. § 6715(e) (authorizing Attorney General to seek injunctions

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against discrimination in federally funded public-transportation activities);
49 U.S.C. § 11702 (authorizing Surface Transportation Board to seek
injunctions to enforce certain railway laws, regulations, and agency orders);
49 U.S.C. § 11703 (authorizing Attorney General to seek injunctions to
enforce railway regulations and authorizing United States to compel a rail
carrier to provide transportation as a common carrier to an individual);
49 U.S.C. § 13508(c) (authorizing Secretary of Transportation and Surface
Transportation Board to seek injunctions to enforce reporting requirements
on agricultural cooperatives); 49 U.S.C. § 13902(c)(7) (authorizing Secretary
of Transportation and Attorney General to seek injunctions against
violations of motor-carrier-registration regulations); 49 U.S.C. § 14504a(i)
(authorizing Attorney General to seek injunctions to enforce unified-carrier-
registration regulations and agreements); 49 U.S.C. §§ 14702(a), 15902
(authorizing Secretary of Transportation and Surface Transportation Board
to seek injunctions to enforce certain transportation laws, regulations, and
agency orders); 49 U.S.C. § 15903 (authorizing Attorney General to seek
injunctions to enforce certain pipeline laws, regulations, and agency orders
and authorizing United States to seek injunctions to compel pipeline carriers
to provide transportation or service to individuals); 49 U.S.C. § 24103
(authorizing Attorney General to seek injunctions against Amtrak and other
rail carriers to enforce rail-passenger-transportation regulations); 49 U.S.C.
§ 20109(d)(2)(iii) (authorizing Secretary of Labor to seek injunctions to
enforce whistleblower-protection orders); 49 U.S.C. § 22403(j) (authorizing
Attorney General, upon request by Secretary of Transportation, to seek
injunctions against violations of conditions of financing for railroad
rehabilitation and improvements); 49 U.S.C. § 30171(b)(5) (authorizing
Secretary of Transportation to seek injunctions to enforce whistleblower-
protection orders); 49 U.S.C. § 31105(e) (authorizing Secretary of Labor to
seek injunctions to enforce whistleblower-protection orders); 49 U.S.C.
§ 31115(b)(7), (c)(8)(A) (authorizing Secretary of Transportation and
Attorney General to seek injunctions against violations of freight-forwarder-
surety regulations and surety-broker regulations); 49 U.S.C. § 32308(d)
(authorizing Attorney General to seek injunctions to enforce certain
transportation regulations); 49 U.S.C. § 46106 (authorizing Secretary of
Transportation to seek injunctions to enforce air-commerce-and-safety
regulations and orders); 49 U.S.C. § 46107(a)–(b) (authorizing Attorney
General to seek injunctions to enforce air-commerce-and-safety regulations
and orders); 49 U.S.C. § 42121(b)(5) (authorizing Secretary of Labor to seek
injunctions to enforce whistleblower-protection orders); 49 U.S.C. § 47111
(authorizing Secretary of Transportation to seek injunctions to enforce
conditions of airport grants); 49 U.S.C. § 60129(b)(5) (authorizing Secretary

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          of Labor to seek injunctions to enforce whistleblower-protection orders);
          50 U.S.C. § 2702(k)(2)(B) (authorizing Secretary of Energy to seek
          injunctions to enforce whistleblower protections); 50 U.S.C. § 4041(b)(1)–
          (2) (authorizing Attorney General to seek injunctions against pattern or
          practice of violations of Servicemembers Civil Relief Act); 50 U.S.C.
          § 4565(d)(3) (authorizing Attorney General to seek injunctions to enforce
          orders prohibiting or suspending certain transactions with foreign actors);
          50 U.S.C. § 4565(l)(6)(D)(iii) (authorizing Committee on Foreign
          Investment in the United States to seek injunctions to enforce mitigation
          and compliance conditions); 51 U.S.C. § 20141(b) (authorizing Attorney
          General to seek injunctions against misuse of agency names); 51 U.S.C.
          § 60123(a)(2) (authorizing Secretary of Commerce to seek injunctions to
          terminate licenses to operate private remote sensing space systems);
          52 U.S.C. §§ 10101,3 10306(b), 10701(a)(1), 10308(d), 10504, 20105(a),
          20307, 20510(a), 21111 (authorizing Attorney General to seek injunctions to
          protect voting rights); 52 U.S.C. §§ 30107(a)(6), 30109(a)(6) (authorizing
          Federal Election Commission to seek injunctions against violations of
          campaign-finance laws).

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    In short, Congress’s enactment of some statutes that include provisions expressly
providing for the United States to seek equitable relief against violations in certain
specified circumstances does not diminish the United States’ preexisting authority to
vindicate its sovereign authority and interests by seeking an injunction. Here, the
United States has done so by seeking an injunction to prevent the enforcement of a
state statute that interferes with federal government’s administration of immigration
law by intruding into a field that is exclusively occupied by the federal government
and that conflicts with the standards and enforcement procedures under federal law.

   The Court should affirm the preliminary injunction.




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       The Court identified 42 U.S.C. § 1971 in its April 8 order. Section 1971 has
been editorially reclassified as 52 U.S.C. § 10101.


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                                    Respectfully submitted,

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